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 AO 91 (Rev. 11/82)                                             CRIMINAL COMPLAIN'                                i~r~~~.~
              UNITED STATES DISTRICT COURT                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                    DOCKET NO.
                  UNITED STATES OF AMERICA
                             v.
                     WILLIAM GLARNER IV                                             MA       T TE'S CAS NO.      ~ Q
                                                                                      ~~ 1 ~ -
                                       Cormplaint for violation of Title 21, United States Code, Section 841

  NAME OF MAGISTRATE JiJDGE                                                                                           LOCATION
                                                                                   SITED STATES
  THE HONORABLE EDWARD INFANTE                                                     MAGISTRATE JUDGE                   Orange County,
                                                                                                                      California
  DATE OF OFFENSE                                      PLACE OF OFFENSE             ADDRESS OF ACCUSED (IF KNOWN)

  March 14, 2019                                       Orange County

  COMPLAINANT'S STATEMENT OF FACTS CONSTITU'T'ING THE OFFENSE OR VIOLATION:

                                                           [21 U.S.C. § 841 (a)(1),(b)(1)(A)(viii)]

         On or about March 14, 2019, in Orange County, within the Central District of California, WILLIAM
  GLARNER IV aka `Bil.y" possessed with intent to distribute a controlled substance, in violation of Title 21,
  United States C~.de, Sec 'on 841 (a)(1),(b)(1)(A)(viii).
              -; '  u:

                               ~                                                                                         FILED
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    ~~,                            , _`~                                                                           MAR ! 5
                                                                                                              CENTRALDIS   CT OF CALIFORNIA
                       -~                  ~                                                                  BY                    DEPUTY
                      ,,,

  BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

            (See attached affidavit which is incorporated as part of this Complaint)

  MATERIAL WITT~,SSES IN RELATION TO THIS CHARGE: NIA


                                                                 SIGNATURE OF COMPLAIN
 Being duly sworn, I declare that the
 foregoing is true and correct to the best                       pared Harada
 of my knowledge.                                                OFFICIAL TITLE
                                                                 S ecial A ent —Homeland Security Investigations
 Sworn to before me and subscribed in my presence,

 SIGN               MAGISTRATE JUDGE'                    ~                                                                 DATE

                                           ~~                                                                              March 15, 2019
~'~ See Federal Rules of Criminal Procedure 3 and 54
AUSA Kathy Yu x243]; Puneet Kakkar x57                             ~'~i y~~'IA• ~~~r~~A~TE
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                                AFFIDAVIT

     I, Jared Harada, being duly sworn, declare and state as

follows:

                           I.   INTRODUCTION

     1.     I am a Special Agent ("SA") with the Department of

Homeland Security ("DHS"), Immigration and Customs Enforcement

("ICE"), Homeland Security Investigations ("HSI"), and have been

so employed since March 2008.      I received formal training from

the Criminal Investigator Training Program and the Immigration

and Customs Enforcement Special Agent Training Program at the

Federal Law Enforcement Training Center ("FLETC") in Glynco,

Georgia.    As part of the training at FLETC, I received extensive

instruction pertaining to narcotics trafficking, money

laundering, electronic and physical surveillance procedures, as

well as the preparation and execution of search and arrest

warrants.    Prior to my employment with HSI, I was an agent with

the State of California Alcoholic Beverage Control.         I am

currently assigned to the HSI office in Orange County,

California, where I conduct investigations into money laundering

and narcotics trafficking.

     2.     Throughout my career as a SA with HSI, I have been the

case agent and have assisted on multiple investigations

involving narcotics trafficking and money laundering in the

Southern California area.     These investigations have focused on

narcotics distribution, the laundering of narcotics proceeds,

monetary instruments derived from narcotics activities, and

conspiracies associated with narcotics offenses.         I have
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debriefed defendants, informants, and witnesses who have

personal knowledge regarding narcotics trafficking

organizations.    I have participated in narcotics investigations,

of numerous individuals involved in the distribution,

possession, and manufacture of controlled substances, such as

cocaine, methamphetamine, marijuana, and heroin.          I have also

participated in the execution of search and arrest warrants

involving drug trafficking and money laundering crimes.

                        II. PURPOSE OF AFFIDAVIT

     3.    This affidavit is made in support of an application

for an arrest warrant and criminal complaint against William

"Billy" GLARNER IV ("B. GLARNER") for violations of 21 U.S.C.

~ 841 (a)(1), (b)(1)(A)(viii) (Possession with Intent to

Distribute a Controlled Substance).

     4.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses, as well as my conversations and analysis with more

experienced agents and officers ~aho are familiar with drug

trafficking.    This affidavit is intended to show merely that

there is sufficient probable cause for the requested warrant and

does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.
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                      III. SiTNIlKARY OF PROBABLE CAUSE

     5.    Since March 2018, HSI and Costa Mesa Police Department

("CMPD") began an investigation into B. GLARNER while conducting

a concurrent investigation into another known narcotics

trafficker.     In September 2018, law enforcement obtained and

executed a search warrant on B. GLARNER's residence and seized,

among other things, approximately 41.88 grams of heroin, 3.13

grams of methamphetamine, and seven digital devices.          One of the

digital devices law enforcement reviewed - pursuant to a federal

search warrant — was B. GLARNER's computer, which contained a

backup of B. GLARNER's text messages with others, wherein he

asked for "50" pounds of drugs.

     6.    Moreover, on March 14, 2019, law enforcement seized

over 3 pounds of suspected methamphetamine from B. GLARNER from

searches of his residences and cars.

                     IV. STATEMENT OF PRQBABLE CAUSE

     A.    A Search of B. GLARNER's RESIDENCE and Seizure of
           Approximately 41.8£3 Grams of Suspected Heroin, and
           3.13 Grams of Methamphetamine

           1.    Irvine Police Department called to B. GLARNER's
                 ,
                 ..,.~,a ..,.,.,,.


     7.    On September 12, 2018, I received information from

Irvine Police Department ("IPD") about patrol officers being

dispatched to 1207 Terra Bella, Irvine, California (the "Bella

Tera Residence," later determined to be B. GLARNER's residence).

IPD stated that they were called by the security officer of the

community in which the Bella Tera Residence is situated due to a

gas line leak and water leak.        IPD informed me that upon IPD's
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arrival to the residence, Officer Weiland observed the water

leak and noted that B. GLARNER's front door was missing the

whole locking mechanism.     Officer Weiland was able to see into

the unit through the hole in the door and noted that the lights

were on in the unit.

     8.    B. GLARNER then showed up to the residence and

verbally identified himself to IPD.       B. GLARNER said he was

unaware of the deadbolt/locking mechanism missing from his door

and thought his apartment may have been burglarized.         B. GLARNER

then gave permission to the officers to enter the unit to check

for further signs of a burglary.

     9.    IPD officers then entered the residence and located a

water leak in the laundry room.      As they continued through the

residence they observed, in the master bedroom, in plain view,

approximately 10 United Stated Postal Service flat-rate boxes.

On the desk of the master bedroom, in plain view, IPD officers

saw a cereal bowl that had two and one-half golf-ball sized

chunks of a dark brown/black tar like substance.         Next to the

bowl was a spoon containing a dark brown liquid, a digital

scale, and numerous sandwich sized plastic baggies.         IPD then

contacted CMPD Detective Josef Saar and me about B. GLARNER.

     10.   Based on the above-referenced statements and

observations, on September 13, 2018, CMPD obtained a search

warrant for B. GLARNER's residence from the Honorable Sherri L.

Honer of the Superior Court of California, Orange County.

    11.    During the search of the residence, Detective Saar

advised me that he seized approximately 41.88 grams of suspected
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heroin, 3.13 grams of suspected methamphetamine, and seven

digital devices from B. GLARNER's residence.

        B.    B. GLARNER'S Phone Show Communications Where He Agreed
              to Sell 50 Pounds of Methamphetamine in December 2017

        12.   Based on the information mentioned above, on September

27, 2018, I obtained a search warrant from the Honorable Douglas

F. McCormick, United States Magistrate Judge, Central District

of California, to search the seven digital devices related to B.

GLARNER that Detective Saar had seized pursuant to the above-

mentioned state search warrant.

        13.   Based on my review of B. GLARNER's EVGA Computer Tower

(S/N:    4517299704; memory and storage capacity not known), I am

aware that located on the hard drive of the computer was a back-

up file of B. GLARNER's Apple devices.

     14.      Stored on the back-up file were text messages between

a number ending in 8423 and B. GLARNER from December 19, 2017 to

December 22, 2017.     They exchanged the following messages, among

other things:


    TIME            FROM          TO                 MESSAGE

 12/19/2017
                   -8423      B. GLARNER   K I'm ready fam how
07:11:41 PM
                                           many?
 12/19/2017
                 B. GLARNER     -8423      A lot bro.
07:13:47 pM
 12/19/2017
                   -8423      B. GLARNER   K I have 13 and half ps
07:17:49 PM
                                           rn and should I order
                                           more for today b 4 u get
                                           here
 12/19/2017
                   -8423      B. GLARNER   Or is that good for
07:40:43 PM
                                           today??
 12/19/2017
                   -8423      B. GLARNER   I can get a 100 ps asap
07:51:07 PM
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                                           today just let me kno
                                           and I get it fam
12/19/2017
              B. GLARNER        -8423      That's enough for today.
08:12:53 PM
                                           I need like 25 more
12/19/2017
                 -8423       B. GLARNER    Ok coo I'll put in an
08:14:52 PM
                                           Oder for 25 more then or
                                           30?
12/19/2017
              B. GLARNER        -8423      Lol just get a lot.
08:15:31 PM
                                           Should be big next 2
                                           weeks
12/19/2017
              B. GLARNER        -8423      Prob 50 total
08:15:38 PM
12/19/2017
                 -8423       B. GLARNER    Ok coo he'll ya fam I'm
08:23:35 PM
                                           down
12/22/2017
              B. GLARNER        -8423
12:40:31 AM                                 ,... ,.          _.. ~.~
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12/22/2017
              B. GLARNER        -8423      That's all shake plus
12:40:31 AM
                                           they're starting to drop
                                           in weight again.                     This
                                           one was 442.
12/22/2017
                 -8423       B. GLARNER    Damn fam they said they
1:00:49 AM
                                           have ones rn that are
                                           all chunks no shake I
                                           haven't got anything yet
                                           tho I'm waiting 2 see if
                                           you wanna get more or
                                           not fam
12/22/2017
              B. GLARNER       -8423       Yes I need more for sure
1:39:26 AM
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 12/22/2017
                B. GLARNER      -8423       Get like 50 but seriously
 1:39:58 AM
                                            man they're getting under
                                            weight and all shake.
                                            Please I don't want to
                                            keep going in circles with
                                            these guys


           a.     Based on my training, experience, conversations

with other agents, and knowledge of this investigation, I

believe the person using the number ending in -8423 and B.

GLARNER were using coded language to coordinate narcotics

transaction, in the above messages.        I believe B. GLARNER was

asking for up to 25 pounds of methamphetamine on December 19,

2017.

           b.    On December 22, 2017, as excerpted above, B.

GLARNER texted a photo of what appeared to be a clear plastic

bowl containing a white crystalized substance on a scale.           B.

GLARNER then that he needed "50" pounds, but said that the

product was "starting to drop in weight again" and all "shake."

I believe that B. GLARNER was saying that the methamphetamine he

just purchased from the person with the number ending in -8423

was in smaller pieces (shake, not the best quality) and not the

full weight as purchased.

           c.    In addition, based on my training and experience,

the photo B. GLARNER texted the number ending in -8423 was a

photo of the methamphetamine that he just obtained from the

number ending in -8423 showing that it was in small pieces and

not "chunks."
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      C.   Searches of B. GLARNER'S Residences and Cars Lead to
           Seizures of over 3 Pounds of Methamphetamine

     15.   On March 14, 2019, law enforcement seized over 3

pounds of suspected methamphetamine from B. GLARNER from

searches of his residences and cars.        Materials consistent with

packaging narcotics, such as mailing bags with handwritten

numbers that appeared to correspond with the weight of the

suspected narcotics contained therein, were recovered from a car

believed to belong to B. GLARNER.       B. GLARNER was arrested at

approximately 12:30 P.M.

     16.   On the same day, HSI SA Isaac Steele and SA Aaron

Gutierrez conducted presumptive field tests of the suspected

methamphetamine seized from B. GLARNER.        SA Gutierrez told me

the substances field-tested positive for methamphetamine with

the total amount weighing approximately 1,550 gross grams.l

                             V. CONCLUSION

     17.   For all the reasons described above, and based on my

training, education, experience, and participation in this

investigation, there is probable cause to believe that

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     1 Due to the fact that the suspected methamphetamine was
seized from various places attributable to B. GLARNER, law
enforcement has only tested a sampling to date for the purposes
of this Complaint. A full laboratory analysis will follow.
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B. GLARNER is in violation of 21 U.S.C. ~ 841 (a)(1),

(b)(1)(A)(viii) (Possession with Intent to Distribute a

Controlled Substance).




                                            JARED   RADA, Special Agent
                                            Homeland Security
                                            Investigations



Subscrib~, to and sworn before me
t i ~ day of March, 2019.




xoNox~BLE                    ED1~1fARD A. INFANTE
UNITED STATES MAGI     RATE JUDGE
